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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

 ANTHONY EID, an individual,

         Plaintiff,

 v.
                                                   Case No: 20-cv-11718
 WAYNE STATE UNIVERSITY,
                                                   Hon. Gershwin A. Drain
 WAYNE STATE UNIVERSITY
                                                   Mag. Judge David R. Grand
 SCHOOL OF MEDICINE,
 NIKOLINA CAMAJ, MATT JACKSON,
 RICHARD S. BAKER, and
 R. DARIN ELLIS, in their individual and
 official capacities, jointly and severally,

         Defendants.
                                                                                 /
 Mark C. Rossman (P63034)                  KIENBAUM HARDY VIVIANO
 Elizabeth M. Vincent (P76446)              PELTON & FORREST, P.L.C.
 ROSSMAN, P.C.                             By: Elizabeth Hardy (P37426)
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                                                                                 /

      Defendants’ Motion to Exclude Plaintiff’s Expert Report and Testimony
Case 2:20-cv-11718-GAD-DRG ECF No. 48, PageID.1274 Filed 01/31/22 Page 2 of 23




       Defendants Wayne State University, Wayne State University School of

 Medicine, Nikolina Camaj, Margit Chadwell, Matt Jackson, Richard S. Baker, and

 R. Darin Ellis, by their attorneys, move to exclude Plaintiff’s expert report and

 testimony. In support of their motion, Defendants rely on their accompanying brief

 and the attached exhibits and declarations

       On January 26, 2022, Defendants’ counsel sought concurrence in this motion

 from Plaintiff’s counsel, explaining the nature of the motion and its legal basis.

 Plaintiff’s counsel did not concur, necessitating this motion.

                                        KIENBAUM HARDY VIVIANO
                                        PELTON & FORREST, P.L.C.

                                        By:   /s/ Elizabeth Hardy
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

 ANTHONY EID, an individual,

        Plaintiff,

 v.
                                                   Case No: 20-cv-11718
 WAYNE STATE UNIVERSITY,
                                                   Hon. Gershwin A. Drain
 WAYNE STATE UNIVERSITY
                                                   Mag. Judge David R. Grand
 SCHOOL OF MEDICINE,
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   Brief in Support of Defendants’ Motion to Exclude Plaintiff’s Expert Report and
                                     Testimony
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                        Statement of Issues Presented

    I.   Should this Court exclude the expert opinion of Plaintiff’s due process
         expert as irrelevant, unqualified, and unreliable?




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                             Controlling Authority


 Fed. R. Evid. 702

 Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993)

 Kumho Tire Co., Ltd v. Carmichael, 526 U.S. 137 (1999)

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                                        v
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                                   Introduction

        Plaintiff Anthony Eid has named Dr. Paul Finkelman as a “due process”

 expert, with the intention of relying on his opinion in opposition to Defendants’

 motion for summary judgment.

        Dr. Finkelman’s expert opinion—“that the university has denied Mr. Eid a

 full plethora range of due process protections”—is inadmissible under Rule 702. It

 purports to offer a legal conclusion on the question whether Eid was denied

 procedural due process—an invasion of this Court’s role to decide questions of law.

 Dr. Finkelman is also deeply unqualified. He has no experience in procedural due

 process, let alone in the higher education context, and his deposition testimony

 revealed a troubling lack of knowledge on the subject. Finally, his opinion is not

 reliable in any sense as Dr. Finkelman had no apparent methodology and has failed

 to review critical information because he was short on time.

        For these reasons, Defendants ask this Court to find that Dr. Finkelman’s

 expert opinion as expressed in his report and deposition testimony is inadmissible

 and to preclude Plaintiff’s reliance on it in opposition to summary judgment and, if

 necessary, later at trial.




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                                Factual Background

         Dr. Paul Finkelman is a “professional historian and legal scholar,” serving as

 the Chancellor and Distinguished Professor of History at Gratz College, a small

 online college. (Ex. 1, Finkelman Report, ¶¶ 1, 13.) He holds no law degree. (Id.

 ¶ 2.)

         Dr. Finkelman is serving as a “due process” expert for Eid and has issued a

 50-page expert report in support of Eids’s claim that he was denied due process. (See

 Pltf’s Expert Witness List, ECF No.35, PageID.728; Ex. 3, Pltf’s Resp to Second

 Interrog., pp. 7–8.) The Report begins by briefly sketching the origins of due process,

 as recounted in another scholar’s work. (Ex. 1, Finkelman Report, ¶¶ 14–30, citing

 to Levy, Origins of the Fifth Amendment: the Right Against Self-Incrimination (New

 York: Oxford Univ. Press 1968).) Dr. Finkelman claims that the “notion of due

 process” that emerged from this legal tradition encompassed a host of rights codified

 in the Bill of Rights that were later gradually incorporated against the states through

 the 14th Amendment’s Due Process Clause. (Id.) Summarizing the result, Dr.

 Finkelman writes, “[A] central element of “due process” in the United States has

 been based on the idea that a government interrogation must be fair, and those being

 investigated have a right to know what the accusations and charges against them

 [are], to face (confront) their accusers, and have a right to counsel.” (Id., ¶ 24.)



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        Based on this understanding of due process, Dr. Finkelman opines that Eid

 was denied due process because the process that led to his dismissal from medical

 school lacked the procedural safeguards codified in the Fourth, Fifth, Sixth, and

 Eighth Amendments. (Id., ¶ 31-86; see also Ex. 2, Finkelman Dep., pp. 94–95 (“I

 use due process in a very broad range to include essentially the Fifth through the

 Eighth Amendments and possibly even the Fourth Amendment because a search

 could violate due process as well.”).) To drive the point home, Dr. Finkelman

 concludes his Report with an extended analogy to the Star Chamber and other

 despotic legal regimes (Ex. 1, Finkelman Report, ¶¶ 87–106.) It is unnecessary to

 detail every facet of Dr. Finkelman’s opinion as set forth in his Report because, as

 discussed below, it is not the proper subject of expert testimony and, in any event,

 he is not qualified to give it and, even if he were, the opinion he reached in this case

 is not reliable.


                                   Legal Standard

        Before Eid can offer Dr. Finkelman’s report in support of his due process

 claim, either at the summary-judgment stage or at trial, he must establish that his

 expert opinion is admissible under the Federal Rules of Evidence. See, e.g., Leppek

 v. Ford Motor Co., No. 18-cv-13801, 2021 WL 927374, at *1 (E.D. Mich. Mar. 11,

 2021) (adopting report and recommendation to preclude the plaintiff’s reliance on

 expert report for purpose of summary judgment). Those rules assign to this Court
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 the role of gatekeeper, weeding out irrelevant or unreliable testimony offered by

 unqualified experts. See Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589

 (1993); Kumho Tire Co., Ltd v. Carmichael, 526 U.S. 137, 141 (1999). Rule 702

 codifies this Court's gatekeeping role, and it requires the party offering the expert

 witness to establish, and this Court to find, that the expert opinion:

            1. Is offered by a qualified witness, i.e., someone who has the
               “knowledge, skill, experience, training, or education” to provide an
               expert opinion;

            2. Is relevant, i.e., is “help[ful] the trier of fact to understand the
               evidence or to determine a fact in issue,” and

            3. Is reliable, i.e., is “based on sufficient facts or data” and “the product
               of reliable principles and methods” that are “reliably applied . . . to
               the facts of the case.”

 Fed. R. Evid. 702.

         Dr. Finkelman fails all three requirements.


                                        Argument

    I.      Dr. Finkelman’s expert opinion is irrelevant because it reaches a
            quintessential legal conclusion.

         The inquiry into the admissibility of Dr. Finkelman’s testimony begins and

 ends with its relevancy. Relevancy in this context is determined by whether an

 expert’s opinion “will help the trier of fact to understand the evidence or to determine

 a fact in issue.” Fed. R. Evid. 702(a). Expert testimony purporting to explain the law

 is, by necessity, not helpful. “The only legal expert in a federal courtroom is the

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 judge.” United States v. Caputo, 517 F.3d 935, 942 (7th Cir. 2008). Thus, when an

 expert’s opinion offers legal conclusions, such testimony “is excluded because the

 trial judge does not need the judgment of witnesses.” United States v. Zipkin, 729

 F.2d 384, 387 (6th Cir. 1984). The Court’s “special legal knowledge” renders such

 evidence superfluous. Id.

       There’s no question that Dr. Finkelman’s entire expert opinion is a legal

 conclusion. His Report purports to “express [an] opinion on the history and meaning

 of ‘Due Process’ in the Fourteenth Amendment (and collaterally in the Fifth

 Amendment) as it relates to Mr. Eid’s case.”1 (Ex. 1, Finkelman Report, ¶ 12.) Asked

 at his deposition what opinions he reached in this case, Dr. Finkelman said, “my

 summary opinion is that the university has denied Mr. Eid a full plethora range of

 due process protections.” (Ex. 2, Finkelman Dep., pp. 9-10.)




 1
   Almost immediately after this, Dr. Finkelman acknowledges that it “is not [his]
 place, as an expert, to determine or even suggest how the court should decide this
 case,” stating that “his goal is to illuminate the constitutional history surrounding the
 case.” (Ex. 1, Finkelman Report, ¶ 13.) Ignoring for the moment that the remainder
 of his report proceeds to opine on whether Eid was denied due process, if Dr.
 Finkelman’s only goal is to “illuminate the constitutional history,” then his opinion
 is irrelevant because it will not assist the trier of fact (or this Court at the summary
 judgment stage) in resolving whether Defendants denied Eid procedural due process
 under the legal framework established by Supreme Court precedent. See Daubert,
 509 U.S. at 591 (“Expert testimony which does not relate to any issue in the case is
 not relevant and, ergo, non-helpful.”).
                                            5
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       Furthermore, an expert makes a legal conclusion when “he defines the

 governing legal standard or applies the standard to the facts of the case,” Keyes v.

 Ocwen Loan Servicing, LLC, 335 F. Supp. 3d 951, 959 (E.D. Mich. 2018) (Drain,

 J.), and that’s precisely what Dr. Finkelman has done here. According to his Report,

 Dr. Finkelman reached his conclusions by “consider[ing] the university’s own

 procedures against the requirements of the law that [he is] familiar with as a

 constitutional scholar, professor, and college president.” (Ex. 1, Finkelman Report,

 ¶ 12.) Asked later whether he reached his opinion by “tak[ing]. . . Wayne State’s

 procedures as applied to Mr. Eid in this case and apply[ing] them to the law as [he]

 understand[s] it as a constitutional scholar,” Dr. Finkelman replied, “And through

 history of due process, yes.” (Ex. 2, Finkelman Dep., p. 104.)

       By his own admissions, then, Dr. Finkelman’s expert opinion is a

 quintessential legal conclusion. For that reason alone, this Court should strike his

 Report and exclude it for purposes of summary judgment. See Killion v. KeHE

 Distributors, LLC, 761 F.3d 574, 593 (6th Cir. 2014) (affirming exclusion of expert

 whose opinion on meaning and application of legal term was an “impermissible legal

 conclusion”); Hyland v. HomeServices of Am., Inc., 771 F.3d 310, 322 (6th Cir.

 2014) (“[A] witness may not testify to a legal conclusion.”).




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     II.      Dr. Finkelman is unqualified to opine on procedural due process.

           Even if an expert could opine on the meaning of due process as applied in

 Eid’s case, Dr. Finkelman is not qualified to do so. His resume and deposition

 testimony reveal that he has no “specialized knowledge, skill, experience, training,

 or education” that qualifies him to offer an opinion on the due process issues in this

 case—i.e., procedural due process in the high-education context. Fed. R. Evid. 702.2

           Dr. Finkelman is a “professional historian and legal scholar.” (Ex. 1,

 Finkelman Report, ¶ 13.) He has never been offered, let alone qualified, as an expert

 in procedural due process. (Ex. 2, Finkelman Dep., p. 256.)3 Dr. Finkelman is not an

 attorney or doctor and has not been trained or educated in those professions. (Id. at

 63.) He has never taught at a medical school. (Id. at 65.) He has never taught a class

 on procedural due process or published an article on the topic.4 (Id. at 65, 72–73.)


 2
   Although Eid’s complaint potentially raises a substantive due process claim, Dr.
 Finkelman’s deposition testimony made clear he did not reach a conclusion on that
 issue. (Ex. 2, Finkelman Dep., pp. 116–17; see also Ex. 1, Finkelman Report., ¶ 97.)
 3
   Dr. Finkelman touts his expert witness experience in several cases, but none
 involved a Daubert challenge or other qualification inquiry. (Ex. 2, Finkelman Dep.,
 pp. 85–87, 256.) The one time he was challenged under Daubert, he was excluded,
 as detailed below.
 4
   What articles he has published are not peer-reviewed. Dr. Finkelman seemed to
 think otherwise because law students review his work before publication. (Ex. 2,
 Finkelman Dep., pp. 74–75.) But see United States v. Gissantaner, 990 F.3d 457,
 464 (6th Cir. 2021) (“Peer review is not student review. . . . No offense to former,
 current, and future members of law journals everywhere: But it is one thing to
 convince lawyers in training to publish a piece; it is quite another to convince peers
 in a professional community to publish a piece.”).
                                           7
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 Nor does he have any experience as a voting member of a professionalism committee

 or similar body. (Id. at 71.)

       Asked if he considers himself an expert on procedural due process, Dr.

 Finkelman replied, “To the extent that due process is included in the history of the

 Fifth and Fourteenth Amendment” and “is part of the general constitutional history

 of the United States and the Supreme Court decisions,” “to that extent I am an expert

 of due process.” (Id. at 75-76.) That kind of mile-high expertise does not qualify Dr.

 Finkelman to be an expert on the narrow subject of procedural due process in the

 higher education setting. See Everlight Elecs. Co. v. Nichia Corp., No. 12-cv-11758,

 2014 WL 4707053, at *9 (E.D. Mich. Sept. 22, 2014) (excluding proposed expert

 because he was not qualified in subspecialty of field) (citing cases).

       The rest of his deposition testimony made that abundantly clear. Asked to state

 the standard for assessing whether the state has denied an individual of procedural

 due process, Dr. Finkelman repeatedly invoked the standard for incorporating the

 Bill of Rights provisions against the states through the 14th Amendment. (See Ex. 2,

 Finkelman Dep., p. 139.) That doctrine is analytically distinct from assessing

 whether a state has deprived an individual of their procedural due process rights.

 (See id. at 84 (agreeing with that proposition); see also Ex. 4, Con Law Treatise

 Excerpt.) When confronted with that fact, Dr. Finkelman’s answer betrayed a

 fundamental lack of understanding of procedural due process: “The standard is to


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 look at the facts of the case and to look at the traditions and precedent . . . .” (Id. at

 140.)5

          Upon further questioning, it became clear that Dr. Finkelman’s understanding

 of procedural due process directly conflicted with binding precedent. Asked, “Is it

 your expert opinion that a university violates due process when it fails to follow its

 own rules?” Dr. Finkelman answered, “I think it clearly does, yes. … And no, I can't

 cite you a specific case.” (Id. at 168.)6 Asked if the same procedural protections

 apply to the same extent in the “academic” dismissal setting as they do in the

 “disciplinary” setting, Dr. Finkelman said “yes,” adding that academic dismissals

 require the right to a hearing, to confrontation, to cross-examination, to an attorney,

 to an appeal, “[a]nd probably other things that I haven’t thought about” (Id. at 126.)7




 5
   The correct answer, at least at the most generic level, comes from Mathews v.
 Eldridge, 424 U.S. 319, 335 (1976) (“[I]dentification of the specific dictates of due
 process generally requires consideration of three distinct factors: First, the private
 interest . . . ; second, the risk of an erroneous deprivation . . . and the probable value,
 if any, of additional or substitute procedural safeguards; and finally, the
 Government's interest[.]”).
 6
  The correct answer was “no.” See Doe v. Miami Univ., 882 F.3d 579, 603 (6th Cir.
 2018) (“[A] mere failure by the University to follow its own internal guidelines does
 not give rise to a procedural-due-process violation.”).
 7
   Again, the correct answer was “no.” See Bd. of Curators of Univ. of Missouri v.
 Horowitz, 435 U.S. 78, 86 & n.2 (1978) (holding that the 14th Amendment requires
 “less stringent procedural requirements in the case of an academic dismissal” and
 rejecting the argument that “representation by counsel, confrontation, and cross-
 examination of witnesses” are required).
                                             9
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       Aside from his fundamental lack of expertise on the subject, the tenor of Dr.

 Finkelman’s report indicates that he is a hired partisan offering legal advocacy. See

 Am. Stove Co. v. Cleveland Foundry Co., 158 F. 978, 984 (6th Cir. 1908) (“It is not

 the province of witnesses to advocate the cause of the party who calls him[.]”). For

 example, he draws analogies to the “the jurisprudence of Salem Massachusetts in

 1691,” George Orwell’s 1984, and the comedy movie Animal House. (Ex. 1,

 Finkelman Report, ¶¶ 57, 80–81, 92.) And his report is littered with hyperbole. (See

 e.g., id., ¶¶ 66, 75–76, 80-81, 85, 87–106.) He does not offer the type of serious

 analysis befitting an expert witness. Virginia Elec. & Power Co. v. Sun Shipbuilding

 & Dry Dock Co., 68 F.R.D. 397, 406 (E.D. Va. 1975) (“In order to be an expert one

 must be in a position to testify as an expert and not as a partisan.”).

       This is not the first time Dr. Finkelman has offered legal advocacy under the

 guise of “expert” testimony. Recently, the U.S. District Court for the Eastern District

 of Oklahoma, exercising the same gatekeeping role this Court is exercising here,

 excluded Dr. Finkelman as an expert witness, in part, because his report did not

 “represent[] an objective balance of views, but rather the zealous views of an

 advocate” and thus “would not be helpful and is not properly the subject of expert

 testimony.” (Green v. Haskell County, No. 05-cv-406, ECF No. 78 (E.D. Okla. April

 12, 2016) (attached as Ex. 5.)




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       In short, Dr. Finkelman’s resume, the content and tenor of his Report, and the

 considered judgment of another federal judge all support the same conclusion: he is

 not qualified to be an expert and, on the topic of procedural due process, he is simply

 out of his depth.

    III.   Dr. Finkelman’s opinion is not based on a reliable method nor was it
           reliably applied in this case.

       Finally, even if Dr. Finkelman’s opinion were relevant and he were qualified

 to give it, his approach in reaching it was wholly unreliable here.

       Reliability requires, first and foremost, that the opinion be “based on sufficient

 facts or data.” Fed. R. Evid. 702(b). Dr. Finkelman’s opinion is not based on

 sufficient facts. He claimed to have received all the documents exchanged between

 the parties in discovery as well as the deposition transcripts, but he only reviewed a

 fraction of the documents due to time constraints. (Ex. 2, Finkelman Dep., p. 156

 (“[I]f I had been contacted a month earlier than I had, there would have been -- I

 probably would have looked at everything.”). Most troubling, he admitted that he

 did not review the School of Medicine Handbook, the Professionalism Committee

 Bylaws, or the Promotions Committee Bylaws, despite knowing from the

 depositions that Eid’s case was a medical school professionalism proceeding. (Id. at

 233–34 (explaining “because I ha[d] something of a lack of time”).)

       Dr. Finkelman’s opinion was also not the product of a “reliable method[].”

 Fed. R. Evid. 702(c). Asked to explain his methodology, Dr. Finkelman said, “I read

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 all these [depositions] and then . . . I read what they said about the due process –

 their process. I read their rules and then I proceeded to write my report.” (Id. at 95.)

 In other words, he reads and then he writes. That’s not a “reliable” method under

 Kumho Tire. It has no control standards and cannot be tested. See Kumho Tire, 526

 U.S. at 149. In fact, Dr. Finkelman could not explain how he rules out alternative

 explanations in reaching conclusions, a hallmark of reliability. (Ex. 2, Finkelman

 Dep., p. 99 (“I don't think I can give you an answer to that.”).)

       Finally, to the extent his method could be considered reliable, it was not

 reliably applied here. See Fed. R. Evid. 702(d). For the facts he did review, it is

 evident he focused only on Eid-friendly inferences and overlooked undisputed

 evidence to the contrary elsewhere in the record—something that was antithetical to

 the approach of an historian. (See Ex. 2, Finkelman Dep., p. 95.)

       To cite just one example, in his report Dr. Finkelman opined that Camaj

 denied Eid due process, in part, because Eid “offered to write a letter of apology”

 but “Ms. Camaj didn’t want that to happen.” (Ex. 1, Finkelman Report, ¶¶ 60–61

 (citing Eid’s deposition and opining that this “create[s] two due process issues”).)

 But Camaj said the exact opposite during her deposition. (See Ex. 2, Finkelman Dep.,

 p. 193.) Confronted with this fact, Dr. Finkelman responded, “[T]hank you for

 correcting me. I am wrong. Okay? I made a mistake. I missed it. I missed a sentence

 that Ms. Camaj said.” (Id.)


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        But even as he admitted his error, Dr. Finkelman dug in, stating, “I will say,

 however, that it still strikes me as odd that she did not pursue the apology letter the

 way she pursued the statement.” (Id.) That was wrong, too. After being shown an

 email in which Camaj told Eid she would notify the School that Eid wanted to write

 an apology, Dr. Finkelman gave an explanation that casts doubt on the reliability of

 his entire report:

        And so I can only say that in this piece of my expert report I overlooked
        evidence and I am incorrect. That happens. It happens when you're
        writing something in a hurry and you haven't had a chance to fact check
        every -- you know, go back and do multiple checkings of everything.

 (Id. at 194.) This was no isolated mistake. Later, he admitted that he did not “do any

 research to determine whether or not there are special due process principles that

 apply to professionalism judgments made by medical school administrators.” (Id. at

 261–62.)8 Nor did he “search out any other authorities that would contradict the

 position that Mr. Eid has taken in this case[.]” (Id.) Asked why he didn’t even try,

 Dr. Finkelman said: “I did not have the time.” (Id.) By Dr. Finkelman’s own account,

 time constraints prevented him from reliably reaching conclusions in this case.




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   He failed to do so despite knowing that Eid’s case arose in the medical school
 setting, that the School “considered [Eid’s case] to be a professionalism issue, and
 that the School “ha[d] a separate procedure involving the process of professionalism
 issues.” (Id. at 261–62.)
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                                        Conclusion

          For the foregoing reasons, Defendants respectfully request that this Court find

 that Dr. Finkelman’s expert opinion as expressed in his report and deposition

 testimony is inadmissible and preclude Plaintiff’s reliance on it in opposition to

 summary judgment and, if necessary, later at trial.

                                          Respectfully submitted,

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                            CERTIFICATE OF SERVICE

        I hereby certify that on January 31, 2022, I electronically filed the foregoing
 document with the Clerk of the Court using the ECF system, which will send
 notification of such filing to all ECF participants.

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